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 8
 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11                             SOUTHERN DIVISION
12
     KRISTINA KHEDERLARIAN,                         Case No.
13   individually and on behalf of all others
     similarly situated,
14                                                  CLASS ACTION COMPLAINT
                        Plaintiffs,
15         v.
16   UTILITY TRAILER                                JURY TRIAL DEMANDED
     MANUFACTURING COMPANY,
17
18                      Defendant.
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30                                    CLASS ACTION COMPLAINT
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 1        Plaintiff, Kristina Khederlarian, through her attorneys, brings this Class Action
 2 Complaint against the Defendant, Utility Trailer Manufacturing Company (“UTM” or
 3 “Defendant”), and in support thereof alleges as follows:
 4                                     INTRODUCTION
 5        1.     In April 2021, UTM, a manufacturing company employing thousands of
 6 employees, lost control of approximately 28,703 employees’ highly sensitive personal
 7 information in a data breach (“Data Breach”), and then hid the breach from employees for
 8 nearly a year while cybercriminals posted employee information online.
 9        2.     On information and belief, cybercriminals bypassed UTM’s inadequate data
10 security systems using malware to access employee’s personally identifiable information
11 (“PII”), including their names, income information, Social Security numbers, driver’s
12 license numbers, “medical information,” and financial account numbers. The Data Breach
13 carried on for 20 days before UTM detected it, meaning UTM had no effective means to
14 prevent, detect, or stop the Data Breach from happening before cybercriminals stole and
15 misused employees’ PII.
16        3.     After finally discovering the breach on April 25, 2021, UTM did not
17 immediately notify its employees about the breach as required under California law.
18 Instead, UTM hid the breach from current and former employees for nearly a year while
19 cybercriminals posted employees’ highly sensitive PII on the dark web. Indeed, the
20 notorious ransomware group, “Clop,” had now posted a large dump of UTM employee PII
21 on the dark web, exposing class members to identity theft and fraud.
22        4.     UTM knew cybercriminals were posting employee PII online, but still did not
23 warn its employees about the breach or what cybercriminals were doing with their highly
24 sensitive information. Instead, UTM internally “investigated” the breach for over seven
25 months, deliberately delaying notice to its current and former employees.
26        5.     In November 2021, UTM concluded its “investigation,” but still did not notify
27 its current and former employees about the Data Breach, depriving them of an opportunity
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 1 to proactively mitigate the breach’s impact on them and protect themselves from identity
 2 theft.
 3           6.    And when UTM finally disclosed the Data Breach in February 2022, it
 4 obfuscated the nature of the breach and the threat it posed to current and former employees.
 5 Indeed, UTM misinformed employees that it was “unaware of any or actual or attempted
 6 misuse of the affected information as a result of this incident”—even though UTM knew
 7 cybercriminals were sharing employee information on the dark web. Further, UTM did not
 8 disclose how the breach happened, what information cybercriminals stole, that
 9 cybercriminals were posting employee PII online, or why it took UTM nearly one year to
10 issue a bare-bones notice.
11           7.    Instead, UTM told current and former employees that it was notifying them
12 only “out of an abundance of caution[]” and offered them 12 months of free credit
13 monitoring service, which does not adequately address the lifelong threat that the Data
14 Breach poses to employees.
15           8.    UTM’s failures to adequately protect employee PII and notify employees
16 about the devastating Data Breach for nearly one year harms its employees and violates
17 California law.
18           9.    Plaintiff is a former UTM employee and Data Breach victim. She brings this
19 action on behalf of herself and all others harmed by UTM’s misconduct, seeking relief on
20 a class wide basis.
21                                            PARTIES
22
             10.   Plaintiff, Kristina Khederlarian, is a natural person and citizen of California,
23
     residing in Capistrano Beach, California, where she intends to remain. Plaintiff is a former
24
     UTM employee and Data Breach victim, receiving UTM’s Breach Notice in February
25
     2022.
26
             11.   Defendant, UTM, is a California stock company registered to do business in
27
     California, with its principal place of business at 17295 E. Railroad Street, City of Industry,
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     CA 91748.
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 1                               JURISDICTION AND VENUE
 2         12.    This Court has subject matter jurisdiction over this action under the Class
 3 Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2) because the amount in controversy
 4 exceeds $5,000,000.00, excluding interest and costs, and at least one member of the
 5 proposed Class is a citizen of a state different from Defendant.
 6       13. This Court has personal jurisdiction over Defendant because Defendant
 7 regularly conducts business in the state of California and is headquartered in Los Angeles
 8 County, California.
 9       14. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a
10 substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
11 District, Defendant caused harm to Plaintiffs and Class Members through its actions in this
12 District, and Defendant’s principal place of business is located within this District,
13 specifically in Los Angeles County.
14                              FACTUAL BACKGROUND
15                                              UTM
16         15.    UTM describes itself as “The world’s leading producer of strong, lightweight
17 trailers[,]” operating “over 100 locations throughout the United States, Canada, Mexico,
                       1
18 and South America.”
19         16.    On information and belief, UTM does employ and has employed thousands
20 of individuals, with the Data Breach impacting over 28,000 current and former employees.
21         17.    UTM requires that its employees disclose their PII as part of their employment
22 with UTM, including their names, income information, Social Security numbers, driver’s
23 license numbers, medical information, and financial account numbers.
24         18.    As a large employer managing employees’ highly sensitive PII, UTM
25 understood or should have understood its duty to safeguard employee PII using reasonable
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27
     1
    See UTM, LINKEDIN, https://www.linkedin.com/company/utility-trailer-manufacturing-
28 company/ (last visited Mar. 13, 2022).
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 1 means, informing employees that “UTM treats its duty to safeguard personal information
 2 as an utmost priority.”2
 3         19.   Despite its duty to do so, on information and belief, UTM has not
 4 implemented reasonable cybersecurity safeguards or policies to protect current and former
 5 employee PII, or trained its employees to prevent, detect, and stop data breaches of UTM’s
 6 systems. As a result, UTM leaves vulnerabilities for cybercriminals to exploit and give
 7 access to employee PII.
 8                            UTM Fails to Safeguard Employee PII
 9         20.   Plaintiff is a former UTM employee, having worked for the company from
10 approximately 2009 through 2015.
11       21. As described above, UTM requires its employees to disclose their PII as a
12 condition of employment at UTM.
13         22.   UTM collects and maintains employee PII in its computer systems.
14         23.   In collecting and maintaining the PII, UTM implicitly agrees it will safeguard
15 the data using reasonable means according to its internal policies and state and federal law.
16        24. Despite its duties to safeguard employee PII, on April 5, 2021, cybercriminals
17 bypassed UTM’s security systems undetected and accessed employee information. Indeed,
18 cybercriminals were able to infiltrate UTM’s systems for 20 days without UTM
19 discovering the breach, meaning UTM had no effective means to prevent, detect, or stop a
20 data breach before cybercriminals were able to access and extract employee PII.
21         25.   On April 25, 2021, UTM finally discovered the Data Breach, saying that it
22 “became aware of suspicious activity impacting its computer systems,” though it has never
23 disclosed whether UTM discovered the breach or whether the hackers revealed the breach
24 as part of a ransomware event.
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27
     2
    See UTM, Notice of Privacy Event, https://www.utilitytrailer.com/discover-
28 utility/news/notice-of-privacy-event/ (Feb. 9, 2022).
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 1        26.    After discovering the breach, UTM learned that cybercriminals had accessed
 2 employee PII and removed it from UTM’s systems, including current and former
 3 employees’ names, income information, Social Security numbers, driver’s license
 4 numbers, medical information, and financial account numbers.
 5        27.    Despite the devastating nature of the breach, UTM did not immediately
 6 inform its employees about the breach or otherwise notify them according to California
 7 law. Instead, UTM started an internal “investigation” to “confirm the nature and scope of
 8 the incident.”
 9        28.    In May 2021, While UTM’s investigation was ongoing, news publications
10 reported that the ransomware group, “Clop,” had posted over five gigabytes of UTM
11 employee PII on the dark web.3
12        29.    Indeed, news articles reported that Clop had “provided proof of claims on their
13 dedicated leak site, including a screencap showing some directory names, and other
14 screencaps revealing employee/personnel information such as compensation claims,
15 termination records, and even some tax records. The screencaps revealed personal and
16 sensitive information[,]”4 including:
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     3
    See Brian Stack, Trailer maker Utility targeted in ransomware attack,
25
   FREIGHTWAVES.COM (May 13, 2021), https://www.freightwaves.com/news/trailer-maker-
26 utility-targeted-in-ransomware-attack.
     4
27  See, Nate Tabak, Trailer maker Utility targeted in “cyber event,”, DATABREACHES.NET
   (May 18, 2021), https://www.databreaches.net/trailer-maker-utility-targeted-in-cyber-
28 event/.
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 1                               UTM’ Personnel Files
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                            Employee Benefits Information
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                          Employee Termination Information
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 1
 2         30.   Despite the highly sensitive nature of the information and the threat its
 3 exposure poses to employees, UTM still did not notify its current and former employees
 4 about the Data Breach.
 5         31.   On information and belief, UTM learned that cybercriminals had posted its
 6 employees’ PII on the dark web from third parties.
 7         32.   On information and belief, reporters questioned UTM on the breach, including
 8 how it happened and what employee information it exposed. In response, UTM stated that
 9 it had “suffered a cyber event,” but refused to address the scope of the breach or what
10 employee data it compromised. Thus, UTM left the public and its employees in the dark
11 about the Data Breach while its internal “investigation” inexplicably dragged on for seven
12 months.
13         33.   In November 2021, UTM finally completed its investigation, though UTM
14 has disclosed little from what it uncovered.
15         34.   What’s more, UTM then waited another three months to disclose the Data
16 Breach to its employees.
17         35.   In February 2022, UTM finally notified over 28,000 current and former
18 employees about the Data Breach in a breach notice (“Breach Notice”).5
19         36.   Despite “investigating” the Data Breach for seven months and waiting another
20 three to announce it, UTM’s Breach Notice revealed little about the breach and obfuscated
21 its nature.
22         37.   Indeed, UTM’s Breach Notice misinforms employees that UTM is unsure
23 whether cybercriminals accessed and took employee PII: “Through the investigation, UTM
24 determined that an unknown actor may have viewed and taken certain information during
25 a period of unauthorized access to its computer systems between approximately April 5
26
27
   5
     See UTM, Notice of Privacy Event, https://www.utilitytrailer.com/discover-
28 utility/news/notice-of-privacy-event/ (Feb. 9, 2022).
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 1 and April 25, 2021.” (emphasis added). That statement is untrue as UTM had reason to
 2 know that cybercriminals had, in fact, stolen employee PII.
 3         38.   Further, UTM’s Breach Notice falsely states that UTM is unaware whether
 4 hackers have misused employee PII: “At this time, UTM is unaware of any or actual or
 5 attempted misuse of the affected information as a result of this incident.” That statement is
 6 untrue as UTM had reason to know that cybercriminals had, in fact, posted employee PII
 7 on the dark web.
 8         39.   UTM’s Breach Notice nonetheless assures employees that UTM “treats its
 9 duty to safeguard personal information as an utmost priority,” telling them that “UTM is
10 reviewing existing policies and procedures and implementing internal training protocols to
11 mitigate any risk associated with this event and to better prevent future events”—a review
12 that should have taken place before the Data Breach.
13         40.   UTM ends its Breach Notice by telling Data Breach victims they can sign up
14 for 12 months of free credit monitoring, which does not adequately address the lifelong
15 harm that the Data Breach poses to its victims.
16         41.   UTM’s Breach Notice does not explain how the hack happened, why it carried
17 on for 20 days before UTM discovered it, that cybercriminals have posted employee PII
18 online, what exactly cybercriminals stole, and why it took UTM nearly a year to disclose
19 the breach in a bare-bones notice.
20         42.   On information and belief, UTM failed to adequately train its employees on
21 reasonable cybersecurity protocols or implement reasonable security measures, causing it
22 to lose control over employee PII. UTM’s negligence is evidenced by its failure to prevent
23 the Data Breach and stop cybercriminals from accessing PII. Further, the Breach Notice
24 makes clear that UTM cannot, or will not, determine the full scope of the Data Breach, as
25 it has been unable to determine exactly what information was stolen and when.
26                                      Plaintiff’s Experience
27
           43.   Plaintiff is a former UTM employee.
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 1         44.   As a condition of UTM’s employment, UTM required Plaintiff to provide her
 2 PII.
 3         45.   Plaintiff provided her PII to UTM and trusted that the company would use
 4 reasonable measures to protect it according to UTM’s internal policies and state and federal
 5 law.
 6         46.   Plaintiff has and will spend considerable time and effort monitoring her
 7 accounts to protect herself from identity theft. Plaintiff fears for her personal financial
 8 security and uncertainty over what PII was exposed in the Data Breach. Plaintiff has and
 9 is experiencing feelings of anxiety, sleep disruption, stress, fear, and frustration because of
10 the Data Breach. This goes far beyond allegations of mere worry or inconvenience; it is
11 exactly the sort of injury and harm to a Data Breach victim that the law contemplates and
12 addresses.
13     Plaintiff and the Proposed Class Face Significant Risk of Continued Identity Theft
14         47.   Plaintiff and members of the proposed Class have suffered injury from the
15 misuse of their PII that can be directly traced to Defendant.
16         48.   As a result of UTM’s failure to prevent the Data Breach, Plaintiff and the
17 proposed Class have suffered and will continue to suffer damages, including monetary
18 losses, lost time, anxiety, and emotional distress. They have suffered or are at an increased
19 risk of suffering:
20               a.     The loss of the opportunity to control how their PII is used;
21               b.     The diminution in value of their PII;
22               c.     The compromise and continuing publication of their PII;
23               d.     Out-of-pocket costs associated with the prevention, detection, recovery,
24                      and remediation from identity theft or fraud;
25               e.     Lost opportunity costs and lost wages associated with the time and
26                      effort expended addressing and attempting to mitigate the actual and
27                      future consequences of the Data Breach, including, but not limited to,
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 1                      efforts spent researching how to prevent, detect, contest, and recover
 2                      from identity theft and fraud;
 3               f.     Delay in receipt of tax refund monies;
 4               g.     Unauthorized use of stolen PII; and
 5               h.     The continued risk to their PII, which remains in the possession of
 6                      defendant and is subject to further breaches so long as defendant fails
 7                      to undertake the appropriate measures to protect the PII in their
 8                      possession.
 9         49.   Stolen PII is one of the most valuable commodities on the criminal
10 information black market. According to Experian, a credit-monitoring service, stolen PII
11 can be worth up to $1,000.00 depending on the type of information obtained.
12         50.   The value of Plaintiff and the proposed Class’s PII on the black market is
13 considerable. Stolen PII trades on the black market for years, and criminals frequently post
14 stolen private information openly and directly on various “dark web” internet websites,
15 making the information publicly available, for a substantial fee of course.
16         51.   It can take victims years to spot identity or PII theft, giving criminals plenty
17 of time to use that information for cash.
18         52.   One such example of criminals using PII for profit is the development of
19 “Fullz” packages.
20         53.   Cyber-criminals can cross-reference two sources of PII to marry unregulated
21 data available elsewhere to criminally stolen data with an astonishingly complete scope
22 and degree of accuracy in order to assemble complete dossiers on individuals. These
23 dossiers are known as “Fullz” packages.
24         54.   The development of “Fullz” packages means that stolen PII from the Data
25 Breach can easily be used to link and identify it to Plaintiff and the proposed Class’s phone
26 numbers, email addresses, and other unregulated sources and identifiers. In other words,
27 even if certain information such as emails, phone numbers, or credit card numbers may not
28 be included in the PII stolen by the cyber-criminals in the Data Breach, criminals can easily
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 1 create a Fullz package and sell it at a higher price to unscrupulous operators and criminals
 2 (such as illegal and scam telemarketers) over and over. That is exactly what is happening
 3 to Plaintiff and members of the proposed Class, and it is reasonable for any trier of fact,
 4 including this Court or a jury, to find that Plaintiff and other members of the proposed
 5 Class’s stolen PII is being misused, and that such misuse is fairly traceable to the Data
 6 Breach.
 7         55.    Defendant disclosed the PII of Plaintiff and members of the proposed Class
 8 for criminals to use in the conduct of criminal activity. Specifically, Defendant opened up,
 9 disclosed, and exposed the PII of Plaintiff and members of the proposed Class to people
10 engaged in disruptive and unlawful business practices and tactics, including online account
11 hacking, unauthorized use of financial accounts, and fraudulent attempts to open
12 unauthorized financial accounts (i.e., identity fraud), all using the stolen PII.
13         56.    Defendant’s failure to properly notify Plaintiff and members of the proposed
14 Class of the Data Breach exacerbated Plaintiff and members of the proposed Class’s injury
15 by depriving them of the earliest ability to take appropriate measures to protect their PII
16 and take other necessary steps to mitigate the harm caused by the Data Breach.
17                                   CLASS ALLEGATIONS
18
           57.    Under Cal. Code Civ. P. § 382, Plaintiff sues on behalf of herself and the
19
     proposed Class (“Class”), defined as follows:
20
           All individuals whose PII was compromised in the Data Breach disclosed by
21
           UTM in February 2022, including all individuals who received notice of the
22         UTM Data Breach.
23
     Excluded from the Class are Defendant, its agents, affiliates, parents, subsidiaries, any
24
     entity in which Defendant has a controlling interest, any Defendant officer or director, any
25
     successor or assign, and any Judge who adjudicates this case, including their staff and
26
     immediate family.
27
           58.    Plaintiff reserves the right to amend the class definition.
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 1        59.   This action satisfies the numerosity, commonality, typicality, and adequacy
 2 requirements to maintain a class action.
 3              a.     Numerosity. Plaintiff is representative of the proposed Class,
 4                     consisting of 28,703 members, which is so numerous that it makes
 5                     joinder of all Class members in a single action impracticable;
 6              b.     Typicality. Plaintiff’s claims are typical of Class member’s claims as
 7                     each arises from the same Data Breach, the same alleged violations by
 8                     Defendant, and the same unreasonable manner of notifying individuals
 9                     about the Data Breach.
10              c.     Adequacy. Plaintiff will fairly and adequately protect the proposed
11                     Class’s interests. Their interests do not conflict with Class members’
12                     interests and they have retained counsel experienced in complex class
13                     action litigation and data privacy to prosecute this action on the Class’s
14                     behalf, including as lead counsel.
15              d.     Commonality. Plaintiff and the Class’s claims raise predominantly
16                     common fact and legal questions that a class wide proceeding can
17                     answer for all Class members. Indeed, it will be necessary to answer
18                     the following questions:
19                      i.   Whether Defendant had a duty to use reasonable care in
20                           safeguarding Plaintiff and the Class’s PII;
21                     ii.   Whether Defendant failed to implement and maintain reasonable
22                           security procedures and practices appropriate to the nature and
23                           scope of the information compromised in the Data Breach;
24                    iii.   Whether Defendant was negligent in maintaining, protecting,
25                           and securing PII;
26                    iv.    Whether Defendant breached contract promises to safeguard
27                           Plaintiff and the Class’s PII;
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 1                      v.     Whether Defendant took reasonable measures to determine the
 2                             extent of the Data Breach after discovering it;
 3                     vi.     Whether Defendant’s Breach Notice was reasonable;
 4                    vii.     Whether the Data Breach caused Plaintiff and the Class injuries;
 5                   viii.     What the proper damages measure is; and
 6                     ix.     Whether Plaintiff and the Class are entitled to damages, treble
 7                             damages, or injunctive relief.
 8         60.   Further, common questions of law and fact predominate over any
 9 individualized questions, and a class action is superior to individual litigation or any other
10 available method to fairly and efficiently adjudicate the controversy. The damages
11 available to individuals are insufficient to make individual lawsuits economically feasible.
12                                FIRST CAUSE OF ACTION
13                                      NEGLIGENCE
                             (On Behalf Of Plaintiff And The Class)
14
15         61.   Plaintiff realleges all previous paragraphs as if fully set forth below.

16         62.   Plaintiff and members of the Class entrusted their PII to Defendant. Defendant

17 owed to Plaintiff and other members of the Class a duty to exercise reasonable care in
18 handling and using the PII in its care and custody, including implementing industry-
19 standard security procedures sufficient to reasonably protect the information from the Data
20 Breach, theft, and unauthorized use that came to pass, and to promptly detect attempts at
21 unauthorized access.
22       63. Defendant owed a duty of care to Plaintiff and members of the Class because

23 it was foreseeable that Defendant’s failure to adequately safeguard their PII in accordance
24 with state-of-the-art industry standards concerning data security would result in the
25 compromise of that PII—just like the Data Breach that ultimately came to pass. Defendant
26 acted with wanton and reckless disregard for the security and confidentiality of Plaintiff’
27 and members of the Class’s PII by disclosing and providing access to this information to
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 1 third parties and by failing to properly supervise both the way the PII was stored, used, and
 2 exchanged, and those in its employ who were responsible for making that happen.
 3         64.    Defendant owed to Plaintiff and members of the Class a duty to notify them
 4 within a reasonable timeframe of any breach to the security of their PII. Defendant also
 5 owed a duty to timely and accurately disclose to Plaintiff and members of the Class the
 6 scope, nature, and occurrence of the Data Breach. This duty is required and necessary for
 7 Plaintiff and members of the Class to take appropriate measures to protect their PII, to be
 8 vigilant in the face of an increased risk of harm, and to take other necessary steps to mitigate
 9 the harm caused by the Data Breach.
10         65.    Defendant owed these duties to Plaintiff and members of the Class because
11 they are members of a well-defined, foreseeable, and probable class of individuals whom
12 Defendant knew or should have known would suffer injury-in-fact from Defendant’s
13 inadequate security protocols. Defendant actively sought and obtained Plaintiff’ and
14 members of the Class’s personal information and PII.
15         66.    The risk that unauthorized persons would attempt to gain access to the PII and
16 misuse it was foreseeable. Given that Defendant holds vast amounts of PII, it was inevitable
17 that unauthorized individuals would attempt to access Defendant’s databases containing
18 the PII—whether by malware or otherwise.
19         67.    PII is highly valuable, and Defendant knew, or should have known, the risk
20 in obtaining, using, handling, emailing, and storing the PII of Plaintiff and members of the
21 Class’s and the importance of exercising reasonable care in handling it.
22         68.    Defendant breached its duties by failing to exercise reasonable care in
23 supervising its agents, contractors, vendors, and suppliers, and in handling and securing
24 the personal information and PII of Plaintiff and members of the Class which actually and
25 proximately caused the Data Breach and Plaintiff and members of the Class’s injury.
26 Defendant further breached its duties by failing to provide reasonably timely notice of the
27 Data Breach to Plaintiff and members of the Class, which actually and proximately caused
28 and exacerbated the harm from the Data Breach and Plaintiff and members of the Class’s
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 1 injuries-in-fact. As a direct and traceable result of Defendant’s negligence and/or negligent
 2 supervision, Plaintiff and members of the Class have suffered or will suffer damages,
 3 including monetary damages, increased risk of future harm, embarrassment, humiliation,
 4 frustration, and emotional distress.
 5         69.    Defendant’s breach of its common-law duties to exercise reasonable care and
 6 its failures and negligence actually and proximately caused Plaintiff and members of the
 7 Class actual, tangible, injury-in-fact and damages, including, without limitation, the theft
 8 of their PII by criminals, improper disclosure of their PII, lost benefit of their bargain, lost
 9 value of their PII, and lost time and money incurred to mitigate and remediate the effects
10 of the Data Breach that resulted from and were caused by Defendant’s negligence, which
11 injury-in-fact and damages are ongoing, imminent, immediate, and which they continue to
12 face.
13                               SECOND CAUSE OF ACTION
14                                  NEGLIGENCE PER SE
                              (On Behalf Of Plaintiff And The Class)
15
16         70.    Plaintiff and members of the Class incorporate the above allegations as if fully

17 set forth herein.
18        71. Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide fair

19 and adequate computer systems and data security practices to safeguard Plaintiff and
20 members of the Class’s PII.
21         72.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

22 commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice
23 by businesses, such as Defendant, of failing to use reasonable measures to protect
24 customers or, in this case, employees’ PII. The FTC publications and orders promulgated
25 pursuant to the FTC Act also form part of the basis of Defendant’s duty to protect Plaintiff
26 and the members of the Class’s sensitive PII.
27       73. Defendant violated its duty under Section 5 of the FTC Act by failing to use

28 reasonable measures to protect its employees’ PII and not complying with applicable
29
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30                                   CLASS ACTION COMPLAINT
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 1 industry standards as described in detail herein. Defendant’s conduct was particularly
 2 unreasonable given the nature and amount of PII Defendant had collected and stored and
 3 the foreseeable consequences of a data breach, including, specifically, the immense
 4 damages that would result to its employees in the event of a breach, which ultimately came
 5 to pass.
 6         74.    The harm that has occurred is the type of harm the FTC Act is intended to
 7 guard against. Indeed, the FTC has pursued numerous enforcement actions against
 8 businesses that, because of their failure to employ reasonable data security measures and
 9 avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiff and
10 members of the Class.
11         75.    Defendant had a duty to Plaintiff and the members of the Class to implement
12 and maintain reasonable security procedures and practices to safeguard Plaintiff and the
13 Class’s PII.
14         76.    Defendant breached its respective duties to Plaintiff and members of the Class
15 under the FTC Act by failing to provide fair, reasonable, or adequate computer systems
16 and data security practices to safeguard Plaintiff and members of the Class’s PII.
17         77.    Defendant’s violation of Section 5 of the FTC Act and its failure to comply
18 with applicable laws and regulations constitutes negligence per se.
19         78.    But for Defendant’s wrongful and negligent breach of its duties owed to
20 Plaintiff and members of the Class, Plaintiff and members of the Class would not have
21 been injured.
22         79.    The injury and harm suffered by Plaintiff and members of the Class were the
23 reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or should
24 have known that Defendant was failing to meet its duties and that its breach would cause
25 Plaintiff and members of the Class to suffer the foreseeable harms associated with the
26 exposure of their PII.
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30                                  CLASS ACTION COMPLAINT
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 1         80.   Had Plaintiff and members of the Class known that Defendant would not
 2 adequately protect their PII, Plaintiff and members of the Class would not have entrusted
 3 Defendant with their PII.
 4         81.   As a direct and proximate result of Defendant’s negligence per se, Plaintiff
 5 and members of the Class have suffered harm, including loss of time and money resolving
 6 fraudulent charges; loss of time and money obtaining protections against future identity
 7 theft; lost control over the value of PII; unreimbursed losses relating to fraudulent charges;
 8 losses relating to exceeding credit and debit card limits and balances; harm resulting from
 9 damaged credit scores and information; and other harm resulting from the unauthorized
10 use or threat of unauthorized use of stolen personal information, entitling them to damages
11 in an amount to be proven at trial.
12                                THIRD CAUSE OF ACTION
13                           BREACH OF IMPLIED CONTRACT
                             (On Behalf Of Plaintiff And The Class)
14
15         82.   Plaintiff and members of the Class incorporate the above allegations as if fully

16 set forth herein.
17        83. Defendant offered to employ Plaintiff and members of the Class in exchange

18 for their PII.
19        84. In turn, and through internal policies, Defendant agreed it would not disclose

20 the PII it collects to unauthorized persons. Defendant also promised to safeguard employee
21 PII.
22         85.   Plaintiff and the members of the Class accepted Defendant’s offer by

23 providing PII to Defendant in exchange for employment with Defendant.
24       86. Implicit in the parties’ agreement was that Defendant would provide Plaintiff

25 and members of the Class with prompt and adequate notice of all unauthorized access
26 and/or theft of their PII.
27         87.   Plaintiff and the members of the Class would not have entrusted their PII to

28 Defendant in the absence of such agreement with Defendant.
29
                                              - 17 -
30                                  CLASS ACTION COMPLAINT
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 1         88.   Defendant materially breached the contract(s) it had entered with Plaintiff and
 2 members of the Class by failing to safeguard such information and failing to notify them
 3 promptly of the intrusion into its computer systems that compromised such information.
 4 Defendant further breached the implied contracts with Plaintiff and members of the Class
 5 by:
 6               a.     Failing to properly safeguard and protect Plaintiff and members of the
 7                      Class’s PII;
 8               b.     Failing to comply with industry standards as well as legal obligations
 9                      that are necessarily incorporated into the parties’ agreement; and
10               c.     Failing to ensure the confidentiality and integrity of electronic PII that
11                      Defendant created, received, maintained, and transmitted.
12         89.   The damages sustained by Plaintiff and members of the Class as described
13 above were the direct and proximate result of Defendant’s material breaches of its
14 agreement(s).
15         90.   Plaintiff and members of the Class have performed as required under the
16 relevant agreements, or such performance was waived by the conduct of Defendant.
17         91.   The covenant of good faith and fair dealing is an element of every contract.
18 All such contracts impose upon each party a duty of good faith and fair dealing. The parties
19 must act with honesty in fact in the conduct or transactions concerned. Good faith and fair
20 dealing, in connection with executing contracts and discharging performance and other
21 duties according to their terms, means preserving the spirit—not merely the letter—of the
22 bargain. Put differently, the parties to a contract are mutually obligated to comply with the
23 substance of their contract in addition to its form.
24         92.   Subterfuge and evasion violate the obligation of good faith in performance
25 even when an actor believes their conduct to be justified. Bad faith may be overt or may
26 consist of inaction, and fair dealing may require more than honesty.
27         93.   Defendant failed to advise Plaintiff and members of the Class of the Data
28 Breach promptly and sufficiently.
29
                                              - 18 -
30                                  CLASS ACTION COMPLAINT
31
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 1         94.    In these and other ways, Defendant violated its duty of good faith and fair
 2 dealing.
 3         95.    Plaintiff and members of the Class have sustained damages because of
 4 Defendant’s breaches of its agreement, including breaches thereof through violations of
 5 the covenant of good faith and fair dealing.
 6                               FOURTH CAUSE OF ACTION
 7                                UNJUST ENRICHMENT
                             (On Behalf Of Plaintiff And The Class)
 8
 9         96.    Plaintiff and members of the Class incorporate the above allegations as if fully

10 set forth herein.
11        97. This claim is pleaded in the alternative to the breach of implied contractual

12 duty claim.
13       98. Plaintiff and members of the Class conferred a benefit upon Defendant in the

14 form of services through employment.
15       99. Defendant appreciated or had knowledge of the benefits conferred upon itself

16 by Plaintiff and members of the Class. Defendant also benefited from the receipt of Plaintiff
17 and members of the Class’s PII, as this was used to facilitate their employment.
18         100. Under principals of equity and good conscience, Defendant should not be

19 permitted to retain the full value of Plaintiff and the proposed Class’s services and their PII
20 because Defendant failed to adequately protect their PII. Plaintiff and the proposed Class
21 would not have provided their PII or worked for Defendant at the payrates they did had
22 they known Defendant would not adequately protect their PII.
23         101. Defendant should be compelled to disgorge into a common fund for the

24 benefit of Plaintiff and members of the Class all unlawful or inequitable proceeds received
25 by it because of its misconduct and Data Breach.
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30                                  CLASS ACTION COMPLAINT
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 1                                FIFTH CAUSE OF ACTION
 2             VIOLATION OF CALIFORNIA’S CONSUMER RECORDS ACT
                         CAL. BUS. CODE § 1798.80, ET SEQ.
 3
                         (On Behalf Of Plaintiff And The Class)
 4
           102. Plaintiff incorporates by reference all preceding allegations.
 5
           103. Under California law, any “person or business that conducts business in
 6
     California, and that owns or licenses computerized data that includes personal information”
 7
     must “disclose any breach of the system following discovery or notification of the breach
 8
     in the security of the data to any resident of California whose unencrypted personal
 9
     information was, or is reasonably believed to have been, acquired by an unauthorized
10
     person.” Cal. Civ. Code § 1798.2. The disclosure must “be made in the most expedient
11
     time possible and without unreasonable delay” Id., but “immediately following discovery
12
     [of the breach], if the personal information was, or is reasonably believed to have been,
13
     acquired by an unauthorized person.” Cal. Civ. Code § 1798.82(b).
14
           104. The data breach constitutes a “breach of the security system” of Defendant.
15
           105. An unauthorized person acquired the personal, unencrypted information of
16
     Plaintiff and the Class.
17
           106. Defendant knew that an unauthorized person had acquired the personal,
18
     unencrypted information of Plaintiff and the Class, but waited five months to notify them.
19
     Five months was an unreasonable delay under the circumstances.
20
           107. Defendant’s unreasonable delay prevented Plaintiff and the Class from taking
21
     appropriate measures from protecting themselves against harm.
22
           108. Because Plaintiff and the Class were unable to protect themselves, they
23
     suffered incrementally increased damages that they would not have suffered with timelier
24
     notice.
25
           109. Plaintiff and the Class are entitled to equitable relief and damages in an
26
     amount to be determined at trial.
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                                              - 20 -
30                                  CLASS ACTION COMPLAINT
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 1                                 SIXTH CAUSE OF ACTION
 2           VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                        CAL. BUS. CODE § 17200, ET SEQ.
 3
                       (On Behalf Of Plaintiff And The Class)
 4
            110. Plaintiff incorporates all previous paragraphs as if fully set forth below.
 5
            111. Defendant engaged in unlawful and unfair business practices in violation of
 6
     Cal. Bus. & Prof. Code § 17200, et seq. which prohibits unlawful, unfair, or fraudulent
 7
     business acts or practices (“UCL”).
 8
            112. Defendant’s conduct is unlawful because it violates the California Consumer
 9
     Privacy Act of 2018, Cal. Civ. Code § 1798.100, et seq. (the “CCPA”), and other state data
10
     security laws.
11
            113. Defendant stored the PII of Plaintiff and the Class in its computer systems and
12
     knew or should have known it did not employ reasonable, industry standard, and
13
     appropriate security measures that complied with applicable regulations and that would
14
     have kept Plaintiff and the Class’s PII secure and prevented the loss or misuse of that PII.
15
            114. Defendant failed to disclose to Plaintiff and the Class that their PII was not
16
     secure. However, Plaintiff and the Class were entitled to assume, and did assume, that
17
     Defendant had secured their PII. At no time were Plaintiff and the Class on notice that their
18
     PII was not secure, which Defendant had a duty to disclose.
19
            115. Defendant also violated Cal. Civ. Code § 1798.150 by failing to employ
20
     reasonable security measures, resulting in an unauthorized access and exfiltration, theft, or
21
     disclosure of Plaintiff’s and the Class’s PII.
22
            116. Had Defendant complied with these requirements, Plaintiff and the Class
23
     would not have suffered the damages related to the data breach.
24
            117. Defendant’s conduct was unlawful, in that it violated the Consumer Records
25
     Act.
26
            118. Defendant’s conduct was also unfair, in that it violated a clear legislative
27
     policy in favor of protecting consumers from data breaches.
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                                               - 21 -
30                                   CLASS ACTION COMPLAINT
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 1         119. Defendant’s conduct is an unfair business practice under the UCL because it
 2 was immoral, unethical, oppressive, and unscrupulous and caused substantial harm. This
 3 conduct includes employing unreasonable and inadequate data security despite its business
 4 model of actively collecting PII.
 5         120. Defendant also engaged in unfair business practices under the “tethering test.”
 6 Its actions and omissions, as described above, violated fundamental public policies
 7 expressed by the California Legislature. See, e.g., Cal. Civ. Code § 1798.1 (“The
 8 Legislature declares that . . . all individuals have a right of privacy in information pertaining
 9 to them . . . The increasing use of computers . . . has greatly magnified the potential risk to
10 individual privacy that can occur from the maintenance of personal information.”); Cal.
11 Civ. Code § 1798.81.5(a) (“It is the intent of the Legislature to ensure that personal
12 information about California residents is protected.”); Cal. Bus. & Prof. Code § 22578 (“It
13 is the intent of the Legislature that this chapter [including the Online Privacy Protection
14 Act] is a matter of statewide concern.”). Defendant’s acts and omissions thus amount to a
15 violation of the law.
16         121. Instead, Defendant made the PII of Plaintiff and the Class accessible to
17 scammers, identity thieves, and other malicious actors, subjecting Plaintiff and the Class
18 to an impending risk of identity theft. Additionally, Defendant’s conduct was unfair under
19 the UCL because it violated the policies underlying the laws set out in the prior paragraph.
20         122. As a result of those unlawful and unfair business practices, Plaintiff and the
21 Class suffered an injury-in-fact and have lost money or property.
22         123. The injuries to Plaintiff and the Class greatly outweigh any alleged
23 countervailing benefit to consumers or competition under all of the circumstances.
24         124. There were reasonably available alternatives to further Defendant’s legitimate
25 business interests, other than the misconduct alleged in this complaint.
26         125. Therefore, Plaintiff and the Class are entitled to equitable relief, including
27 restitution of all monies paid to or received by Defendant; disgorgement of all profits
28 accruing to Defendant because of its unfair and improper business practices; a permanent
29
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30                                   CLASS ACTION COMPLAINT
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 1 injunction enjoining Defendant’s unlawful and unfair business activities; and any other
 2 equitable relief the Court deems proper.
 3                                SEVENTH CAUSE OF ACTION
 4    VIOLATION OF THE CALIFORNIA CONSUMER PRIVACY ACT (“CCPA”),
                         CAL. CIV. CODE § 1798.150
 5
                     (On Behalf Of Plaintiff And The Class)
 6
            126. Plaintiff incorporates all previous paragraphs as if fully set forth below.
 7
            127. Defendant violated § 1798.150 of the CCPA by failing to implement and
 8
     maintain reasonable security procedures and practices appropriate to the nature of the
 9
     information to protect the nonencrypted PII of Plaintiff and the Class. As a direct and
10
     proximate result, Plaintiff and the Class PII was subject to unauthorized access and
11
     exfiltration, theft, or disclosure.
12
            128. Defendant is a business organized for the profit and financial benefit of its
13
     owners according to § 1798.140, with annual gross revenues exceeding the threshold
14
     established by § 1798.140(c).
15
            129. Plaintiff and class members seek injunctive or other equitable relief to ensure
16
     Defendant hereinafter adequately safeguards PII by implementing reasonable security
17
     procedures and practices. Such relief is particularly important because Defendant continues
18
     to hold PII, including Plaintiff and class members’ PII. Plaintiff and class members have
19
     an interest in ensuring that their PII is reasonably protected, and Defendant has
20
     demonstrated a pattern of failing to adequately safeguard this information.
21
            130. Pursuant to Cal. Civ. Code § 1798.150(b), Plaintiff will mail a CCPA notice
22
     letter to Defendant’s registered service agents, detailing the specific provisions of the
23
     CCPA that Defendant has and continues to violate. If Defendant cannot cure within 30
24
     days—and Plaintiff believes such cure is not possible under these facts and
25
     circumstances—then Plaintiff intends to promptly amend this Complaint to seek statutory
26
     damages as permitted by the CCPA.
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30                                     CLASS ACTION COMPLAINT
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 1         131. As described herein, an actual controversy has arisen and now exists as to
 2 whether Defendant implemented and maintained reasonable security procedures and
 3 practices appropriate to the nature of the information to protect the personal information
 4 under the CCPA.
 5         132. A judicial determination of this issue is necessary and appropriate at this time
 6 under the circumstances to prevent further data breaches by Defendant.
 7                                  PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiff and members of the Class demand a jury trial on all claims
 9 so triable and request that the Court enter an order:
10         a.    Certifying this case as a class action on behalf of Plaintiff and the proposed
                 Class, appointing Plaintiff as class representative, and appointing their
11               counsel to represent the Class;
12
           b.    Awarding declaratory and other equitable relief as is necessary to protect the
13               interests of Plaintiff and the Class;
14
           c.    Awarding injunctive relief as is necessary to protect the interests of Plaintiff
15               and the Class;
16         d.    Enjoining Defendant from further deceptive practices and making untrue
17               statements about the Data Breach and the stolen PII;

18         e.    Awarding Plaintiff and the Class damages that include applicable
                 compensatory, exemplary, punitive damages, and statutory damages, as
19
                 allowed by law;
20
           f.    Awarding restitution and damages to Plaintiff and the Class in an amount to
21               be determined at trial;
22
           g.    Awarding attorneys’ fees and costs, as allowed by law;
23
           h.    Awarding prejudgment and post-judgment interest, as provided by law;
24
           i.    Granting Plaintiff and the Class leave to amend this complaint to conform to
25
                 the evidence produced at trial; and
26
           j.    Granting such other or further relief as may be appropriate under the
27               circumstances.
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30                                 CLASS ACTION COMPLAINT
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 1                             DEMAND FOR TRIAL BY JURY
 2         Plaintiffs, individually and on behalf of the Class, demand a trial by jury as to all
 3 issues triable of right.
 4
 5 Dated: March 21, 2022                          Respectfully submitted,
 6                                                /s/ Tina Wolfson
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